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 5   Telephone: (916) 554-2724
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  )        CR. NO. S-09-392 EJG
12              Plaintiff,        )
                                  )
13       v.                       )        STIPULATION AND [PROPOSED] ORDER
                                  )        CONTINUING STATUS CONFERENCE
14   MUHAMMAD INAYAT,             )        RE: JUDGMENT AND SENTENCING
     ISA CHICAGO WHOLESALE,       )
15                                )         Date: 07/15/11
               Defendant.         )         Time: 10:00 a.m.
16   _____________________________)        Court: Courtroom 8
17
18          IT IS HEREBY stipulated between the United States of America
19   through its undersigned counsel, Assistant United States Attorney R.
20   Steven Lapham, and defendant MUHAMMAD INAYAT and ISA CHICAGO
21   WHOLESALE, through their undersigned counsel, Jay L. Kanzler, that
22   the judgment and sentencing presently set for July 15, 2011 at 10:00
23   a.m. be continued to October 28, 2011 at 10:00 a.m.
24          Both sides request this continuance so that the defendants may
25   provide additional assistance to the government prior to being
26   ////
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     ////
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 1   sentenced.
 2   IT IS SO STIPULATED.
 3   Dated: July 15, 2011                       /s/ Jay L. Kanzler
                                              JAY L. KANZLER
 4                                            Attorney for Defendants
                                               Muhammad Inayat and
 5                                             ISA Chicago Wholesale
 6
     Dated: July 15, 2011                     BENJAMIN B. WAGNER
 7                                            United States Attorney
 8
                                        by:     /s/ R. Steven Lapham
 9                                            R. STEVEN LAPHAM
                                              Assistant U.S. Attorney
10
11
12                                    O R D E R
13
     IT IS SO ORDERED.
14
     Dated: July 15, 2011              /s/ Edward J. Garcia
15                                    HON. EDWARD J. GARCIA
                                      Senior United States District Judge
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